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                                             Exhibit B

                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                   NEW ALBANY DIVISION

 IN RE:                                            )       Chapter 11
                                                   )
 EASTERN LIVESTOCK CO., LLC                        )       Case No. 10-93904-BHL-11
                                                   )
                          Debtor.                  )       Hon. Basil H. Lorch III

                                     NOTICE OF HEARING

                The Trustee's Purchase Money Claims Report, Motion To Transfer Funds And
 Notice Of Release Of Proceeds From Account (Dock. No. 501) ("Purchase Money Claims
 Report") was filed with the United States Bankruptcy Court for the Southern District of Indiana,
 New Albany Division ("Court") by James A. Knauer, the chapter 11 trustee appointed in this
 case ("Trustee"), on May 23, 2011.

                 Pursuant to the Purchase Money Claims Report, the Trustee objected to all filed
 "Purchase Money Claims" (as that term is defined in the Purchase Money Claims Report) and
 requested that the Court enter an order disallowing the Purchase Money Claims as secured
 claims in and against the Cattle Sales Proceeds (the funds listed on Exhibit A attached to the
 Purchase Money Claims Report which represent payments made to the Trustee pursuant to the
 Order Granting Trustee's Emergency Motion Regarding Payments on Debtor's Cattle Sales
 [Dock. No. 234]). If you have filed a Purchase Money Claim, you should review the Purchase
 Money Claims Report. If you believe that you possess a valid Purchase Money Claim, you must
 file a written response to the Purchase Money Claims Report setting forth in detail both (1) the
 basis for your Purchase Money Claim and (2) the specific Cattle Sales Proceeds (both by "Payor"
 name and amount) that you assert a secured claim against. Any response must be filed in the
 manner and by the deadline set forth below.

                NOTICE IS HEREBY GIVEN that any objections to the relief requested in the
 Purchase Money Claims Report must be filed in writing in accordance with Local Rule S.D. Ind.
 B-9013-1 with the Clerk's Office and served on the attorneys for the Trustee and the Service List
 on or before 11:59 p.m. EDT on June 17, 2011.

                 The Court will hold a hearing on the Purchase Money Claims Report and any
 filed objections on:

                 Date:          June 24, 2011
                 Time:          10:00 a.m. EDT
                 Place:         121 W. Spring Street, Room 103
                                New Albany, Indiana

                 Motions for continuances must be filed as soon as the cause for continuance or
 delay is discovered by the party requesting the continuance, or no later than three (3) days before
 the date of the hearing.
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                The dial-in telephone number for interested parties to participate in the hearing by
 conference call is 1-888-399-7768; passcode 586676, followed by the pound ("#") key.

               The original of the Purchase Money Claims Report is enclosed with this Notice.
 Additional copies may be requested by contacting the undersigned.


 Dated: May 23, 2011
                                              Respectfully submitted,

                                              BAKER & DANIELS LLP


                                              By:     /s/ Dustin R. DeNeal

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